      IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                                 TENNESSEE

OLYMPIC STEAKHOUSE                              )
                                                        )
Plaintiffs                                              )
                                                        )
v.                                                      )       No.: 1:23-cv-02191-JDB-jay

                                                        )
WESTERN WORLD INSURANCE GROUP,
STEVE NASH AND J & S HELD LLC
                )
                                                        )
Defendants

     MEMORANDUM IN SUPPORT OF MOTION TO REMAND AND FOR ATTORNEY
                         FEES AND EXPENSES

        I.        INTRODUCTION

        This civil action arises out of an insurance coverage dispute. The parties are plainly non-

diverse and thus the removal is objectively unreasonable.

        II.       RELEVANT FACTS

        Western World forthrightly admits that JS Held 1 [and Steve Nash] are non-diverse.

        III.      ANALYSIS

        1. Relevant Statutory Provisions

Tenn. Code Ann. § 56-53-103 provides in relevant part that:

               Any person who commits, participates in, or aids, abets, or conspires to commit, or
               solicits another person to commit, or permits its employees or its agents to commit
               any of the following acts with an intent to induce reliance, has committed an unlawful
               insurance act:




1An alias summons will be issued to properly join them and destroy diversity based on the
following.
                                                    1
              a. Presents, causes to be presented, or prepares with knowledge or belief that it
                 will be presented, to …… …… an insurance professional ……..in
                 connection with an insurance transaction ……. any information that the
                 person knows to contain false representations, or representations the falsity of
                 which the person has recklessly disregarded, as to any material fact, or that
                 withholds or conceals a material fact, concerning any of the following:

                      …..


                      i. ……..



                      ii. A claim for payment or benefit pursuant to any insurance policy;



                     iii. Payments made in accordance with the terms of any insurance policy;
                          or




              ………




       2. It shall be unlawful for any person to commit, or to attempt to commit, or aid, assist,
          abet or solicit another to commit, or to conspire to commit an unlawful insurance act.

Tenn. Code Ann. § 56-53-101 provides in relevant part that:

       4.“Insurance professional” means ………..adjusters……………………




       5. “Insurance transaction” means a transaction by, between or among:




              a. An insurer or a person who acts on behalf of an insurer; and


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                     b. An insured, claimant, applicant for insurance, public adjuster, insurance
                        professional, practitioner, or any person who acts on behalf of an insured,
                        claimant, applicant for insurance, public adjuster, insurance professional, or
                        practitioner; for the purpose ………. negotiating or adjusting a claim……




           8. “Person” means a natural person, company, corporation, unincorporated association,
              partnership, professional corporation, agency of government and any other entity;



           2.     Tennessee Statutory Construction Principles
           Clear and unambiguous statutes will be enforced according to their clear terms. Lind v.

Beaman Lodge, Inc., 356 S.W.3d 889, 895 (Tenn. 2011). Every word of the statute will be given

effect. Id. New statutory provisions that do not repeal or over-rule pre-existing law by express terms

or implication are cumulative. Johnson v. Hopkins, 432 S.W.3d 840, 848 (Tenn. 2013). The Courts

presume the Legislature knew the law when it enacted statutory provisions. Sneed v. City of Red

Bank, Tennessee, 459 S.W.3d 17, 23 (Tenn. 2014). Statutes involving the same subject matter are

construed in pari materia. Graham v. Caples, 325 S.W.3d 578, 582 (Tenn. 2010). Specific statues

control over general statutes.        Id. At 582. Judicial construction of statutes become part of the

statute.        Blank v. Olsen, 662 S.W. 2d 324, 326 (Tenn. 1983) and Hill v. City of Germantown, 31

S.W.3d 234, 239-240 (Tenn. 2000).

           Remedial statutes provide a means or method where wrongs can be address and relief

obtained. In the Matter of MAH, 142 S.W.3d 267, 273 (Tenn. 2004). Remedial legislation is

construed liberally. Ferguson v. Middle Tennessee State University, 451 S.W.3d 375, 381 (Tenn.

2014).


                                                      3
       In Craighead v. Bluecross Blueshield of Tennessee 2, 2008 WL 3069320 (M2007-01697-

COA-R3-CV), Slip Op.at 3 (Tenn. Ct. App. July 1, 2008), the Tennessee Court of Appeals held

that the unlawful insurance act applies to anyone who commits and unlawful insurance act.          It

reach was not limited to insured’s only. Id. In Green, et al v. Mutual of Omaha, 2:10-cv-2487,

Slip Op at 25 (W.D. Tenn. January 13, 2011) 3, this Court found that the Unlawful insurance act

applied to insurers.

       3.    Sixth Circuit Fraudulent Joinder Standard

               In order to establish fraudulent joinder in particular, the removing defendants must

show that there is no colorable cause of action against that party. Chambers v. HSBC Bank, N.A., 796

F.3d 561, 564-566 (6th Cir. 2015). The question is whether there is arguably a reasonable basis for

predicting that the state law might impose liability on the facts involved. Id. The removing party

bears the burden of proof on removal and all doubts are resolved in favor of remand. Eastman v.

Marine Mech Corp., 438 F.3d 544, 549-550 (6th Cir. 2006).

       4. Application to case at bar.

       This Court is bound by West and should be persuaded by its own precedent that defendant

cannot met its burden to prove that Plaintiffs cannot colorably establish liability against Steve Nash

or JS Held under the unlawful insurance act.    Moreover, Craighead has become part of the statute

consistent with Blank and Hill. Finally, § 56-53-103 is remedial legislation and liberally construed

consistent with Ferguson.




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  The Court is not free to ignore this opinion. West v. American Telephone & Telegraph, 311
US 223, 237 (1940).
3
  Western World referenced this case in its Notice of Removal but fails to acknowledge Statutes
involving the same subject matter are construed in pari materia consistent with Graham.
                                                  4
       5. Western World removal was objectively unreasonable

       In Powers v. Cottrell, Inc., 758 F.3d 509, 520 (6th Cir. 2013), the Court held that

when caselaw was clear that removal was not warranted, then the removing Defendant was subject to

a payment of fees and expenses. Applying Powers, the caselaw was sufficiently clear that JS Helding

was not fraudulently joined and should be warrant the payment of fees and expenses as objectively

unreasonable.

       IV.      CONCLUSION

                The Court should grant the Plaintiffs’ Motion to Remand this civil action to state

court and award the payment of fees and expenses.


                                                      Respectfully submitted,

                                                      _/s/Drayton D. Berkley
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                                 CERTIFICATE OF SERVICE

            I, the undersigned attorney, do hereby certify that the foregoing document has been
served upon the following counsel of record or parties pro se in this cause ONLY BY
ELECTRONIC TRANSMISSION to the following:

JORDAN D. WATSON (BPR #038242)
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Attorney for Defendant, Western World Insurance Group

This, the 3rd day of May 2023




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    _/s/Drayton D. Berkley
    Drayton D. Berkley




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